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     Sacramento, California 95814
4    Telephone: (916) 554-2918
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7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         )    CR. S-08-065 LKK
12               Plaintiff,              )
                                         )    STIPULATION AND [PROPOSED] ORDER
13                                       )    CONTINUING STATUS CONFERENCE
                                         )
14        v.                             )
                                         )
15   TANEKA RAENEE NUNLEY,               )
                                         )
16               Defendant.              )
                                         )
17
18
19        This matter is set for a status conference and possible
20   change of plea on May 8, 2012, at 9:15 a.m.          Plaintiff United
21   States of America and defendant Taneka Nunley, through her
22   counsel, Attorney Dan Koukol, request the status
23   conference/change of plea hearing date be continued to May 30,
24   2012.
25        The request is made on the ground that the parties have
26   engaged in extensive negotiations over the terms of a final plea
27   agreement.    The government has recently adopted several terms
28   suggested by defense counsel into a revised plea agreement.

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1    Defense counsel needs additional time to review these changes and
2    discuss them with his client.      The parties therefore request
3    exclusion of time under the Speedy Trial Act 18 U.S.C.
4    § 3161(h)(7)(B)(iv) and Local Code T4 (reasonable time to
5    prepare).   Dan Koukol has authorized Assistant U.S. Attorney Todd
6    D. Leras to sign this stipulation on his behalf.
7
8    Dated: May 4, 2012
9                                             Todd D. Leras
                                             TODD D. LERAS
10                                           Assistant U.S. Attorney
11
12   Dated: May 4, 2012
13                                            /s/ Todd D. Leras for
                                             DANIEL FRANK KOUKOL
14                                           Attorney for Defendant
                                             Taneka Nunley
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1         IT IS HEREBY ORDERED:
2         1.    The status conference scheduled for May 8, 2012 is
3    vacated.
4         2.    A new status conference date is set for May 30, 2012,
5    at 9:15 a.m.
6         3.    Based on the parties’ representations, the Court finds
7    that the ends of justice outweigh the best interest of the public
8    and Defendant in a speedy trial.      Accordingly, time under the
9    Speedy Trial Act shall be excluded through May 30, 2012.
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11   Date: 5/4/2012
12                                          LAWRENCE K. KARLTON
                                            SENIOR DISTRICT COURT JUDGE
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